         Case 1:17-cv-01354-CKK Document 40 Filed 01/11/18 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

LAWYERS’ COMMITTEE FOR CIVIL RIGHTS UNDER
LAW,
                      Plaintiff,                                 Docket No. 1:17-cv-01354-CKK
        v.
                                                                 Electronically Filed
PRESIDENTIAL ADVISORY COMMISSION ON
ELECTION INTEGRITY, et al.,

                      Defendants.




  PLAINTIFF’S RESPONSE TO DEFENDANTS’ NOTICE OF EXECUTIVE ORDER

       On January 3, 2018, Defendants notified the Court that the President had signed an

Executive Order terminating the Presidential Advisory Commission on Election Integrity. ECF

No. 39. The notice asserted that “Undersigned counsel will confer with counsel for the plaintiff

about next steps for moving forward.” Id. Although we have still have not heard from

Defendants’ counsel, we submit this response for the benefit of the Court and Defendants.

       The Lawyers’ Committee has every intention of moving forward with this litigation. It is

well settled that the “termination” of a federal advisory committee does not moot claims for

committee records under Section 10(b) of FACA. Ass’n of Am. Physicians & Surgeons, Inc. v.

Clinton, 997 F.2d 898, 901 n.1 (D.C. Cir. 1993); accord, e.g., Nat. Res. Def. Council v. Pena,

147 F.3d 1012, 1023 (D.C. Cir. 1998); Ctr. for Biological Diversity v. Tidwell, 239 F. Supp. 3d

213, 228 (D.D.C. 2017); Freedom Watch, Inc. v. Obama, 859 F. Supp. 2d 169, 175 (D.D.C.

2012); Ass’n of Am. Physicians & Surgeons, Inc. v. Clinton, 879 F. Supp. 103, 104–05 (D.D.C.

1994). The termination of this Commission is no different.




                                                1
         Case 1:17-cv-01354-CKK Document 40 Filed 01/11/18 Page 2 of 3



       The need for disclosure of these documents under Section 10(b) of FACA remains

critical, as Commission Vice Chair Kobach has been reported in multiple news outlets as saying

he intends to rely on the work of the Commission and work with “DHS to ensure the

investigations continue.”1

       Nor does the termination of the Commission alter or impact the Lawyers’ Committee’s

pending motion to compel with respect to the Vaughn-type index. ECF No. 35. For the reasons

stated in that motion, there is ample evidence that the Commission has not accounted for all

records created and received by Commissioners in the course of their work, and that Defendants

failed to comply with this Court’s orders in creating the index. The relief the Lawyers’

Committee seeks is in furtherance of the its still-live claim under Section 10(b).


DATED: January 10, 2018                           Respectfully Submitted,

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News, Jan. 3, 2018, http://www.breitbart.com/big-government/2018/01/03/exclusive-kris-
kobach-voter-fraud-commission-being-handed-off-to-dhs-will-no-longer-be-stonewalled-by-
dems/. See also Kris Kobach on What Led to the Disbandment of Controversial Election
Commission, NPR, Jan. 4, 2018, https://www.npr.org/2018/01/04/575774092/kris-kobach-on-
what-led-to-the-disbandment-of-controversial-election-commission; Brian Lowry and Hunter
Woodall, Trump disbands Kobach-led voter fraud commission after resistance from states,
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                                                 2
Case 1:17-cv-01354-CKK Document 40 Filed 01/11/18 Page 3 of 3




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